              ••                      Case 6:19-cv-01071-AA                 Document 1         Filed 07/10/19      Page 1 of 22



           ••        ...... .....
                    ....................." .....
                     •   ..   •   •    It   •
                                                        -
                                                               ~




          ••        .. . . .  "




           ••       : C.-S.-S.-C.-P.-S.-G.-P. FLAG OF TIDS DOCUMENT-POSTAL-VESSEL-COURT-VENUE.


          ••                                           [: IN THE UNITED STATES DISTRICT COURT:]
                                                             [: FOR THE DISTRICT OF OREGON:]

          ••        [: Claimant: James-Brent: Alvarez:] (a man)
                                                                  [: DMSION OF EUGENE:]

                                                                                         Case No.:    l o: i°'- ,~v--- \ DJ )- ..AA
    ••              [: c/o 30924 Kenady Lane:]
                    [: Cottage Grove, Republic of Oregon [97424]:]                       [: INFORMATIONS IN THE NATURE OF
                                                                                         A QUO-WARRANTO-COMPLAINT:]

     ••             ----------Vs-----------------
                                                                      TITLE---18: U.S. CODE 1001


      ••
                    [: University of Oregon:] (an Oregon Municipality)[: False and Mis-leading Statements:]
                    [: 1226 University of Oregon:]
                    [: Eugene, Oregon 7403-1226:]                     TITLE---18: U.S. CODE 1001 § 2331


       ••                             &
                                                                      [: Domestic Terrorism:]

                                                                                         Claim: $250,010,000.00 USSD

        ••          [: U. of 0. Police Department:]
                    (an Oregon Municipality)
                    [: 2141 E. 15th Avenue:]
                                                                                         Jury Trial: Yes .


        ••          [: Eugene, Oregon 97403:]
                                                                        &


         ••         [: Luke Sitts:] (an individual)
                    [: 2141 E. 15th Avenue:]
                                                                                         [: Scott Geeting:] (an individual)
                                                                                         [: 2141 E. 15th Avenue:]


i   •
          •         [: Eugene, Oregon 97403:]

                                      &
                                                                                         [: Eugene, Oregon 97403:]

                                                                                                  &

            ••      [: Geri Brooks:] (an individual)
                    [: 2141 E. 15th Avenue:]
                                                                                         [: Steven Barrett:] (an individual)
                                                                                         [: 2141 E. 15th Avenue:]

    ••              [: Eugene, Oregon 97403:]                                            [: Eugene, Oregon 97403:]

                                                            [: Basis for jurisdiction is a federal question:]:

    ••                                             TITLE---18: use ~1001 & 1001 § 2331, TITLE 42: USC ~1986


             ••                                                    [: Written in plain language to assist:] .



               ••                                                                [: INDEX:]:

                    [: Addendum included for the definitions of grammar being abbreviated: Page-3:] .



,.•          ••     [: Closure on styles-manual being used Page-3: ].

                    Complaint Page-I
Case 6:19-cv-01071-AA   Document 1   Filed 07/10/19   Page 2 of 22
                                                                     .i•
                                                                     ••
                                                                       ••
                                                                       ••
                                                                        ••
                                                                         ••
                                                                         ••
                                                                     ••
                                                                       ••
                                                                           ••
                                                                          ••
                                                                           ••
                                                                            ••
                                                                     ••
                                                                     ••
                                                                      ••
                                                                       ••
                                                                      ••
                                                                             ••
                                                                             ••
                                                                      ••
                                                                       •
    ••              Case 6:19-cv-01071-AA            Document 1     Filed 07/10/19     Page 3 of 22



  ••       [: Laws, Rules and Statutes: Pages-3,4:] .



  ••       [: Introduction to the complaint: Page-5:] .

           [: Parties involved: Pages-5:] .

   ••      [: Facts: Pages-5,6, 7,8,9:] .


  ••       [: Claims for Relief by the C.-S.-S.-C.-P.-S.-G.-P.: Pages-9,10: ].

           [: Prayer for Relief written in plain language to assist: Pages-10-11:] .

  ••       [: Affirmation: Page-11:] .


  ••       [: Attached evidence of claims: Pages 12-57: ].


   ••      [: Notice ofEstoppel: Pages 12-17:] .

           [: Final Notice of Default: Pages 18-19:] .

  ••       [: 2nd Notice of Default: Pages 20-21:] .


  ••       [: Notice of Default: Pages 22-23:] .



     ••
           [: Contract-Claim-Complaint: 24-35:] .

           [: Document for Law Enforcement Notice: Page 36-54:] .

    ••     [: Affidavit of Truth: Pages 55- 58:] .


  ••
•••  •
     ••
   ••
 •·•
      ••
  ••   •
  ••       Complaint Page-2
                    : k>'
          : VJ ~-o\? ~   hoo       \J.. .. NJO'J .•
                                   .
           . L.?.>-~J\ '1   ·.     --scJvJb_S?.. ~
Page 4 of 22   Filed 07/10/19    Document 1      Case 6:19-cv-01071-AA
         ••                          Case 6:19-cv-01071-AA    Document 1      Filed 07/10/19     Page 5 of 22



    ••                                                       : James-Brent: Alvarez.


     ••              ........
                        ..... ....
                     :::::::::::
                                                               : POSTMASTER.



           ••                                 : C.-S.-S.-C.-P.-S.-G.-P. FLAG OF THIS VESSEL: ~RA535207769US .

      ••             FLAG OF THE CORRECT-SENTENCE-STRUCTURE-COMMUNJCATIONS-PARSE-
                     SYNTAX-GRAMMAR WITH THE CONTRACTING-PERSONS OF A CONTRACTUAL-

       ••            POSTAL-COPORATION .



       ••            [: ~RA535207145US ~Cottage Grove ~Oregon ~zip#97424:].
                     [: PHONE~541-221-6226:] .
                     [: CALLS MAY BE RECORDED:] .

            ••                                           (: Addendum for defmitions:]:


        ••           ~ 1: C.-S.-S.-C.-P.-S.-G.-P. = CORRECT-SENTENCE-STRUCTURE-COMMUNICTIONS-PARSE-
                     SYNTAX-GRAMMAR
                     ~2: [: :] & ()=plain language being used= not C.-S.-S.-C.-P.-S.-G.-P.

    ••               ~3: [: Red Ink:]= the words of a bleeding-complaining-living-man
                     ~4: U. of 0. = University of Oregon


         ••
                     ~5: UOP = University of Oregon Police
                     ~6: U.O.P.D. = University of Oregon Police
                     ~7: U.S.= United States

         ••          ~8: USC= United States Code
                     ~9: USCS = United States Code Section~
                     ~ 10: USSD = United States Silver Dollars

          ••         ~ 11: RICO = Racketeer Influenced and Corrupt Organizations Act
                     ~ 12: FRCP = Federal Rules of Civil Procedure
                     ~13: ORS= Oregon Revised Statute

           ••        ~ 14: USPS = Unit~s States Postal Service
                     ~ 15: D.-C.-C.-S. = document-contract-claims-section


              ••     [: Black's Law Dictionary 4th, 5 th , and 10th edition is used for legal terms-words by claimant:] .



             ••      (: For the claim of use quantum languages and violations by the accused:] .
                     [: Law violations are with this claim:] .
                     [: Law:]:


I    •
        •            ~Title~42: USCS~1986 [: Knowledge and Stop-Correct-Wrongs:].
                     ~FRCP-26-E: [: Closure:].

               ••    ~FRCP~9-B: [: Fraud by confession:] .
                     ~Title~18: USCS~lO0l & 1002: [: False-statements:] .
                     ~Title~15: USCS~1692E [: Fraud & Misleading Statements:].

                ••   ~Title~15: USCS~78 ~ff:[: Penalty: $25,000,000.00:].
                     ~Title~42: USCS~1985-1: [: Conspiracy-Civil:].


               ••    ~Title~42: USCS~l985-2: [: Obstruction-evidence & Witness:] .
                     ~Title~42: USCS~1985-3: [: Depriving Evidence & Witness:] .
                     ~Title~18: USCS~1961: [: RICO:].

               ••    Complaint Page-3
Case 6:19-cv-01071-AA     Document 1       Filed 07/10/19        Page 6 of 22
                                                                                ••
                                                                                ••
                                                                                ••
                                                                                 ••
                                                                                  ••
                                                                                ••
                                                                                ••
                                                                                    ••
                                                                                ••
                                                                                ••
                                                                                   ••
                                                                                   ••
                                                                                     ••
                                                                                   ••
                                                                                   ••
                                                                                    ••
                                                                                   ••
                                                                                   ••
                                                                                     ••
                                                                                      ••
                        : &~ .-~ :, .      +: A'"°""!.!....                            ••
                        :, C,o{)'-1 ,.
                        : ,v '-/ _.
                                         · · / C,0()'1-
                                            •   'J_o I'1 :
                                                          c.,lCt!M :
                                                                                        •
     ••                Case 6:19-cv-01071-AA         Document 1       Filed 07/10/19   Page 7 of 22



    ••         ~Title~l8: USCS~242: [: Coloring of the Laws= Ailing:] .
               ~Title~! 8: USCS~241: [:Criminal-Conspiracy= tort:].

    ••         ~Title~l8: USCS~3: [: Criminal-Participation-Knowledge:].
               ~Title~42: USCS~l983: [: Personal Damages:] .
               ~Title~l8: USCS~l512: [: Obstruction of the Law:].

       ••      ~Title~18: USCS~1341: [: Frauds and swindles:] .
               ~Title~18: USCS~l342: [: Fictitious name or address:] .
               ~Title~l8: USCS~241: [: Conspiracy:] .

     ••        ~Title~18: USCS~242: [: Criminal Deprivation of Rights:].
               ~Title~28: USC~1359: [: Loss of Jurisdiction by Collusion:].
               ~ORS 352.121 1 -(3) [: U. of 0. complaint process:] .

        ••     [: AIDING: CORRUPTION AT THE START/BEGINNING:]:

      ••       ~JUSTICE = Law
               ~JU=no,

       •
      ••
               ~S = Speak,
               ~TI= Title,
               ~CE = Judge: = Judge title speaks no law.



       ••
        ••
         ••
,   .••
     ••
          ••
         ••
     •
    ••
    ••
      ••
     ••        Complaint Page-4

      •
   ••                     : blO-C - hl .
                ; w~~,? - NJcJ-;; / ~ ·~
      ••           . -z.:;.).~A \'Q   ·. t'9
       ••
 ••
       ••
        ••
 ••
  ••
      ••
      ••
••
••
 ••
 ••
    ••
     ••
.••
••
 ••
 ••
             Page 8 of 22      Filed 07/10/19   Document 1   Case 6:19-cv-01071-AA
 ••
  ••                  Case 6:19-cv-01071-AA               Document 1      Filed 07/10/19      Page 9 of 22



 ••                                                   [: INTRODUCTION:]



••            ~ I [: Claimant has no record or evidence that Libellees have not used "Fictitious Conveyance of
              Language" against Claimant, leading to various and many connected interlocking directives
              founded, propagated, brought forward, and executed in the fraud to Claimant's pain and Injury:] .



•• •          ~2 [: Libellees admit to the truth and guilt of utilizing, as a device, against Claimant, "Fictitious
              Conveyance of Language" to Libellees (potential) unjust gain and to Claimants pain and injury:] .


••            ~3 [: Libellees are in tacit agreement:].

              ~4 [: Proof of the postal-vessel-service&: Perpetual-claim-number: RA535207168US:] .

 ••                                                         [: PARTIES:]


 ••           ~5 [: Claimant: James-Brent: Alvarez., is a man and lives in Cottage Grove, the Republic of
              Oregon. At all times material, Claimant is a State Citizen of the Union State Oregon and its


  ••
              territories, and a Non-Citizen U.S. National of the Unity-States of America:].

              ~6 [: Accused: University of Oregon, is an Oregon municipality. At all times material, it uses its


   ••         Police Department, with the employees and agents, issuers, and officers therein, to enforce
              corporate-laws and its public-policy using codes and statutes:].


 ••           ~ 7 [: Accused: University of Oregon Police Department, is an Oregon municipality. At all times
              material, it uses its agents, issuers, and officers to enforce the corporate-laws and its public-policy
              in violation of the Federal and State Constitutions; versus the public-common-law in accordance

     ••       with the Federal and State Constitutions:] .

              ~8 [: Accused: Luke Sitts a man, who is an employee at the University of Oregon Police

      ••      Department, in the capacity of a police officer ID-329. While on duty, and at all times material, he
              is outside his official capacity for the U.O.P.D.:].

  ••          ~9 [: Accused: Scott Geeting a man, who is an employee at the University of Oregon Police
              Department, in the capacity of a police officer ID-114. While on duty, and at all times material, he is

       ••     outside his official capacity for the U.O.P.D.:].

              ~ 10 [: Accused: Geri Brooks, a woman, who is an employee at the University of Oregon Police

    ••        Department, in the capacity of a police officer ID-315. While on duty, and at all times material with
              claimant, she is outside her official capacity for the U.O.P.D.:] .


     ••       ~ 11 [: Accused: Steven Barrett, a man, who is an employee at the University of Oregon Police
              Department, in the capacity of a police officer ID-311. While on duty, and at all times material with


        ••    claimant, he is outside his official capacity for the U.O.P.D. :].

                                                             [: FACTS:]

    ••        ~12 [: ~15-Januray-2019, Claimant is traveling, with an automobile, on the public ways. The
              automobile is a black BMW M3, with the production date of2017:] .

         ••   ~13 [: For the cause of no license plate, claimant is pulled over by UOP officer Luke Sitts. This is
              near 11 th avenue and Alder street. Time is 12:01 pm:] .

         ••   Complaint Page-5

          •
Case 6:19-cv-01071-AA   Document 1   Filed 07/10/19   Page 10 of 22




                                                                      •••••••••••••••••••••••••••••••••••••••••••
                        .. . . . .
,   .••                      Case 6:19-cv-01071-AA           Document 1


                      ~14 [: With no arrest warrant for claimant:].
                                                                               Filed 07/10/19      Page 11 of 22




     ••               ~ 15 [: With no search warrant for the automobile or claimant:].


    ••                ~ 16 [: With closure from claimant, of not using the public-ways for commerce, and that he is
                      traveling, claimant is further held for questioning by U.O.P.D. officer Sitts. All rights are reserved


      ••              and no rights are waived by claimant. Officer Luke Sitts has notice. Notice to Principal is Notice to
                      Agent/Notice to Agent is Notice to Principal:] .



       ••             ~ 17 [: U.O.P.D. officer's Scott Geeting, Steven Barrett, and Geri Brooks are on scene within
                      minutes of claimant being stopped by U.O.P.D. officer Luke Sitts. They are in position near the
                      windows of the automobile. U.O.P.D. officer Scott Geeting questions the claimant:].

       ••             ~ 18 [: For the claimant's Affidavit of Truth filed with the Lane County District Attorney and the
                      Lane County Circuit Court of Oregon, with the seventeen page document giving all law

       ••             enforcement who are participating and present (during all times material) Knowledge and Notice to
                      Stop and Correct themselves before they volitionally-violate any of the claimants constitutionally
                      protected rights and liberties, and by the two page Contract with the further Notice to all law

            ••        enforcement officers, supervisors, and commanders, protecting all of claimant's rights, while
                      waving none of claimant's rights, are accepted by U.O.P.D. officer Scott Getting:].

        ••            ~19 [: U.O.P.D. officer Steven Barrett questions the claimant:] .


        ••            ~20 [: Claimant claims his VI Amendment right to have council present before answering questions,
                      claims his V Amendment right to remain silent, and claims his N Amendment right to be free of
                      un-warranted (non-court-ordered) search and seizure:].

          ••          ~21 [: Claimant is threatened with having his automobile being towed, unless he provides a driver's
                      license, insurance, and registration to officer Sitts:] .

           ••         ~22 [: No authorization to remove the automobile from public ways is granted by claimant:].


         ••           ~23 [: With the showing of deadly weapons, claimant is ordered out of the automobile by U.O.P.D .
                      officer Luke Sitts. After stopping the recording on his phone and then turning the phone off,

              ••      claimant complies and exits the automobile:].

                      ~24 [: Without placing the claimant under arrest, without communication, without cause to use

               ••     excessive-force, and without warning, the U.O.P.D. officers Luke Sitts, Scott Getting, Steven
                      Barrett, and Geri Brooks attempt to seize claimant with physical force. This causes a scuffle
                      between claimant and U.O.P.D. officer's, for a lack of communication from the U.O.P.D. officers,

             ••       constituting no awareness or understanding of the situation by claimant:] .



                ••
                      ~25 [: Years of training are automated and applied without awareness, hesitation, or thought by
                      Claimant:] .



               ••     ~26 [: Claimant's physical responses are for fear of his life, which he immediately stops (not
                      wanting to hurt anyone or be hurt himself) upon awareness of what is happening:] .


                 ••   ~27 [: With the use of additional-excessive-force, claimant is shot multiple times with electricity by
                      the U.O.P.D. officers Geri Brooks, Steven Barrett, and Luke Sitts. With the claimant stopping his
                      protection of his life (no greater love hath he, then he who would lay down his life for another),

             ••       with the hand signals to stop what they are doing, and by the oral communication from the claimant
                      Complaint Page-6

                 •
Case 6:19-cv-01071-AA   Document 1   Filed 07/10/19   Page 12 of 22
                                                                         ••
                                                                          ••
                                                                              ••
                                                                        ••
                                                                           ••••
                                                                            ••
                                                                           ••
                                                                            ••
                                                                      ••
                                                                       ••
                                                                           ••
                                                                      ••
                                                                      ••
                                                                      ••
                                                                           ••
                                                                         ••
                                                                        ••
                                                                             ••
                                                                            ••
                                                                              ••
                                                                               •
     ••              Case 6:19-cv-01071-AA           Document 1        Filed 07/10/19      Page 13 of 22



    ••        to stop, using body language to show he is surrendering, the claimant is shot with electricity while
              he is still being physically assaulted. During the assault, claimant asked for their cause to

   ••         electrocute him once he surrendered his life to them, and after they had assaulted him by slamming
              him to the ground, and while he is being handcuffed with the officers surrounding, subduing, and
              still shooting him with electricity. He (claimant) lay face-down on the ground helping the officers,

   ••         by the placing his hands behind his back, and yet, the electrocution of the claimant is continuous .
              The claimant is arrested and read the Miranda rights by the U.O.P.D. officers. Time is around
              12:28pm:].

   ••         ~28 [: U.O.P.D. searches the automobile with the lack of a warrant's authorization in violation of
              U.S. Constitution Amendment IV:] .
                                                                                                                      1




  •••         ~29 [: Claimant is hospitalized and issued five U.O.P. OREGON UNIFORM CITATION AND
              COMPLAINTS-DOCUMENTS (traffic tickets), and charged with three other felonies (interference
              with a peace officer, resisting arrest, and assault of police officers), by the U.O.P.D. officer Luke

 ••           Sitts:] .



    ••
              ~30 [: At the hospital, with kidnapping of claimant, by officer Luke Sitts. Claimant asks ifhe is
              under arrest when being told to exit the automobile. Officer Luke Sitts answer is no. Claimant asks
              for the cause of the assault, after he exits the automobile. Officer Luke Sitts informs Claimant that

  ••          he invoked his right to remain silent, and that they can no longer communicate:].

              ~31 [: With the medical clearance granted by the hospital, claimant is transferred to Lane County

  ••          Jail, by the U.O.P.D. officer Luke Sitts:].

              ~32 [: With the witnessing of these events, by the claimant and the U.O.P.D. body-cameras, with the

   ••         date of 15-January-2019:] .

              ~33 [: ~16-January-2019, after one night and two days of false-imprisonment, claimant is dis-

     ••       charged from Lane County Jail, with three pending felony charges, and five U.O.P. OREGON
              UNIFORM CITATION AND COMPLAINTS:].

 ••           ~34 [: ~3-February-2019, five U.O.P. OREGON UNIFORM CITATION AND COMPLAINT-
              DOCUMENTS are forensically analysed and marked for correction using the correct-sentence-

      ••      structure-communication-parse-syntax-grammar-performance by claimant:] .

              ~35 [: ~4-February-2019, claimant writes a unilateral contract-claim-complaint ORS 352.12l1-(3),

      ••      with a conditional offer to settle all claims, upon defendants stopping and correcting their
              documents 42 USC 1986, for potential fraudulent and mis-leading statements 18 USC 1001, boxing
              and grammar errors Black Law Dictionary 5th Edition-P591, fictitious name or address 18 USC

      ••      1342, and otherwise as marked on their documents. Closure for the defmition of words being used
              in their documents, as well as which dictionary or styles manual is being used FRCP 26(e) .


       ••     Furthermore, evidence and proof of their mandate and bond, the oaths of all parties and their titles,
              and statutes written in the correct-sentence-structure-communication-parse-syntax-grammar is
              being asked for by Claimant. A fee Schedule for having to deal with this matter is instituted by

        ••    Claimant, and accused are given twenty-one days to respond. Sent USPS by registered mail No .




,.
              RA535207168US to defendants:] .


          •   ~36 [: ~4-February-2019, Lane County District Attorney-Patricia M. Perlow receives a certified
              copy of contract-claim sent to defendants:].

le            ~37 [: ~4-February-2019, Lane County Circuit Court Clerks refuse to file a certified copy of

         ••   Complaint Page-7
Case 6:19-cv-01071-AA   Document 1   Filed 07/10/19   Page 14 of 22




                                                                      •••••••••••••••••••••••••••••••••••••••••••
                        ....
                         ,
                        ..
 ••               Case 6:19-cv-01071-AA           Document 1       Filed 07/10/19      Page 15 of 22



,.
 •         contract-claim into the Record. Claiming nothing had been docketed in the matter at this time:].



I.•        ~38 [: ~5-February-2019, claimant appears at the Lane County Circuit Court, per summons of the
           accused's claims-documents. No claims (traffic tickets) are on the docket:].

           ~39 [: ~6-February-2019, claimant appears at the Eugene Municipal Court, per summons of


 ••        defendants claims-documents. No claims (traffic tickets) are on the docket:] .

           ~40 [: ~ 7-March-2019, Claimant sends a NOTICE OF DEFAULT to University of Oregon

   ••      President-Michael H. Schill, University of Oregon Police Department Chief of Police-Matthew
           Carmichael, and University of Oregon Police Officer-Luke Sitts, for failure to stop and correct their
           claims-documents, or answer back to counter-claims of false-statements and false-papers FRCP

  ••       9(B). Ten days are given for a response. Sent USPS by registered mail No. RA535207401US:].

           ~41 [: ~20-March-2019, Claimant sends a 2 nd NOTICE OF DEFAULT to University of Oregon

   ••      President-Michael H. Schill, University of Oregon Police Department Chief of Police-Matthew
           Carmichael, and University of Oregon Police officer-Luke Sitts, asking them to stop and correct


     ••
           there claims-documents (so the account could be settled), or answer back to counter-claims of false
           and mis-leading statements 15 USC 1692(E), and otherwise. Five days are given for a response.
           Sent USPS by registered mail No. RA535207429US:] .

  ••       ~42 [: ~1-April-2019, Claimant sends a FINAL DEFAULT NOTICE to University of Oregon
           President-Michael H. Schill, University of Oregon Police Department Chief of Police-Matthew

    ••     Carmicheal, and University of Oregon officer-Luke Sitts: for the cause of default by the claims of
           the U.O.P.D. officer Luke Sitts. They are given 3 days to cure themselves or answer back to ·
           counter-claims of fraud and swindles 18 USC 1341, and otherwise. Sent USPS by registered mail

  ••       No. RA535207432US:] .

           ~43 [: ~8-April-2019, Claimant sends a NOTICE OF ESTOPPEL to University of Oregon

      ••   President-Michael H. Schill, University of Oregon Police Department Chief of Police-Matthew
           Carmicheal, and University of Oregon Officer-Luke Sitts, for their failure to answer back to


  •
 ••
           claimant of their claims. The U. of 0. and its Police Department are in tacit agreement, and are
           given the opportunity to remove their unsubstantiated fil-ing under the rule of voluntary removal of
           frivolous paperwork. Thus, curing themselves under the rule of Jeopardy, stopping and correcting
           themselves from the violation of 18 USC 1001 & 1001 § 2331, 42 USC 1986, and otherwise:].


  •
 ••
           ~44 [: For what purpose are the University of Oregon and its police department knowingly violating
           USC TITLE 42 1986 and ORS 352.121 1-(3)? The U. of 0. President-Micheael H. Schill and the
           U.O.P.D. Chief of Police-Matthew Carmicheal have shown no interest in resolving the matter. They
           are committing USC TITLE 42 1985-(3) - Deprivation of our Rights. Therefore, violating USC

 ••        TITLE 18 1961 - Racketeering activity, for their USC TITLE 42 1985-(2) - Obstruction of the
           Justice, therefore causing USC TITLE 42 CH. 21 - 1983 - Personal Injury, and a USC TITLE 42


  ••
           1983 Note 39 - Civil Deprivation of the Rights, by their USC TITLE 42 1983, Note 319 and Note




,.
           337 - Custom & Policy under their USC TITLE 18 241 - Conspiracy, under the Color of Law,
           causing the USC TITLE 18 242 - Criminal Deprivation of the Rights, and USC TITLE 18 872 -

  •        Collusion/ Coercion, for the USC TITLE 18 Ch.73:§: 1512 - Criminal Obstruction of the Justice,
           thus leading to USC TITLE 28 1359 - Loss of the Jurisdiction by their Collusion, all while
           operating under the USC TITLE 4 - Desecration of the flag:].

   ••      ~45 [: The NOTICE OF ESTOPPEL has a FINIAL TRUE BILL for defendants, for the fee
           schedule ($500.00 USD x 16 hrs) is $8,000.00 USSD. Plus, expenses for postage $100.00 USSD,

  ••       transportation $100.00 USSD, medical bills from the hospital visit day of the incident $1,800.00
           Complaint Page-8

    •
Case 6:19-cv-01071-AA   Document 1   Filed 07/10/19   Page 16 of 22
                                                                      ••
                                                                        ••
                                                                       ••
                                                                      ••
                                                                      ••
                                                                         ••
                                                                        :•
                                                                           •• •




                                                                          ••
                                                                            ••
                                                                        ••
                                                                          ••
                                                                          ••
                                                                          ••
                                                                            ••
                                                                              ••
                                                                             ••
                                                                               ••
                                                                              ••
                                                                          ••
                                                                          •
         ••              Case 6:19-cv-01071-AA        Document 1      Filed 07/10/19    Page 17 of 22




,.    ••           USSD, property housed (automobile and myself) $15,000,000.00 USSD, emotional-mental-physical
                   harm $10,000,000.00 USSD, fmes relating to federal laws (USC 15 ~78ff) $25,000,000.00 USSD,
                   and punitive damages in the amount of$200,000,000.00 USSD, for a total of$250,010,000.00
                   USSD. Sent USPS by registered mail No. RA535207809US:] .

    ••                   [: FIRST CLAIM FOR RELIEF: FOR THE VIOLATION OFU.S. CODE 1001:]


     ••            ~46: FOR THE CHANGING-FACTS INTO THE VERBS, PRONOUNS AND ADJECTIVES ARE
                   WITH THEE DAMAGE-CLAIM OF THE FICTIONAL-SYNTAX-MODIFICATIONS,

      ••           CORRUPT-AUTHORITIES, AND FRAUDULANT-SYNTAX OF THE GRAMMAR-
                   LANGUAGE-CLAIMS WITH THE STEALING, THEFT, TORT, BEZZLEMENT AND RAPE OF
                   THE EQUITY, FREEDOMS AND COMMUNICATION-LANGUAGE-CLAIMS OF THE

    ••             CLAIMANT.

                   ~47: FOR THE FICTIONAL-SYNTAX-MODIFICATIONS OF THE FACT (LANGUAGE) IS

     ••            WITH THE DAMAGE-CLAIMS OF THE PERSON'S-KNOWLEDGE OF THE FOLLOWING:



        ••
                   ~48: FOR THE WORD-TERM: PERSON: FOR A CONTRACT-PERSON'S-VOLITION OF THE
                   FIRST-PART-"OFFER" IS WITH A CONTRACT-PERSON-DUTY OF THE SECOND-PART
                   WITH THE JOINING BY A CORPORATION-CONTRACT.

       ••          ~49: FOR THE CLAIMANT'S-KNOWLEDGE OF THESE FACTS IS WITH THESE CLAIMS
                   OF THESE RULES WITH THE CLOSURE: CONTRACT-CLAIM, WITH THE CLAIMANT'S-

       ••          KNOWLEDGE OF THESE FACTS ARE WITH THE CLAIMS OF THESE COMMUNICATION-
                   LANGUAGE-METHOD WITH THE FICTONAL-LANGUAGE-METHOD-FRUAD BY THE
                   U.-O.-P.-D .

     ••             ~50: FOR THIS PARTY'S-KNOWLEDGE OF THESE CONTRACT-COMPLAINTS ARE WITH
                   THIS CLAIM OF THE OPEN-MARKET-FILING[COURT]. FOR THIS PERSON'S-

       ••          KNOWLEDGE OF THESE FACTS ARE WITH THESE CLAIMS OF THE CLOSURE OF THE
                   FACTS:


     ••             51: FORA PERSON'S-KNOWLEDGE OF THESE FACTS ARE WITH THE CLAIM OF THE
                   PORTING WITH THESE CORRECTIONS-AUTHORITY BY THE TITLE~42: ~1986:

           ••      KNOWLEDGE OF THE PARSE-SYNTAX-GRAMMAR AND CORRECTION OF THE
                   FICTIONAL-SYNTAX-LANGUAGE .



I   •
          •        ~52: FOR THE KNOWLEDGE OF THE WRITING-COMMUNICATION-LAW ARE WITH
                   THESE CLAIMS OF THESE CORRECTIONS WITH THESE WRITING-FICTIONAL-
                   MODIFICATION-WRONGS BY THESE PERSONS: UNIVERSITY OF OREGON AND ITS

          ••       POLICE DEPARTMENT.



            ••     ~53: FOR THIS PERSON'S-KNOWLEDGE OF A TORT IS WITH THE DAMAGE-CLAIMS OF
                   A JURISDICTION-MATTER WITH A VOLITION OF THE SYNTAX-WORD-FALSIFICATION
                   WITH THE CONCEALING OR WITH A COVERING-UP BY A TRICK, SCHEME OR BY A

             ••    VICE OF THE MATERIAL-FACT, OR WITH THE MAKING OF A FALSE-STATEMENT OR
                   BY THE FICTITIOUS-STATEMENT OR WITH THE FALSE-WRITINGS OR WITH THE
                   FALSE-DOCUMENTS BY THE KNOWLEDGE OF A FALSE-DOCUMENT WITH THE FINE

              ••   OF THE TITLE: D.-C.-C.-S.~15-CH-2B, SECTION 78ff: $5-MILLION-PRIVATE, $25-
                   MILLION-CORPORATION AND 30-YEARS-PRISON OR BOTH.


          ••       ~54: FOR THE FICTIONAL-GRAMMAR: TITLE~18: DOCUMENT-CONTRACT-CLAIMS-
                   Complaint Page-9

            •
Case 6:19-cv-01071-AA   Document 1   Filed 07/10/19   Page 18 of 22
                                                                      ••
                                                                        ••
                                                                       ••
                                                                        ••
                                                                         ••
                                                                           ••
                                                                             •
                                                                        ••
                                                                          ••
                                                                          ••
                                                                          ••
                                                                          ••
                                                                          ••
                                                                             ••
                                                                            ••
                                                                            ••
                                                                       ••     •
                                                                       ••
                                                                        ••
                                                                       ••
                                                                      ••
                                                                       •
        ••          Case 6:19-cv-01071-AA            Document 1   Filed 07/10/19     Page 19 of 22



 ••          SECTION~lO0l: FOR THE PERSON'S-KNOWLEDGE OF THESE FACTS ARE WITH THESE
             VOLITION-CLAIMS OF THE FRAUDULANT-U.-O.-P. DOCUMENTS, OR WITH THESE

••           FALSE-FORGERIES-COUNTERFEIT-WRITINGS BY THE U.-O.-P.-D. OFFICER Luke Sitts .


••           ~55: FOR THE PERSON'S-KNOWLEDGE OF THE DOCUMENT-CONTRACT-
             CORPORATION-VESSEL: FOR THE CLAIMS OF THIS CONTRACT-VESSEL-DOCUMENT

••           IS WITH THE WITNESSING-CLAIMS OF THE CORRECT-SYNTAX-COMMUNICATIONS-
             LANGUAGE WITH THE PERSON/WITNESS/CLAIMANT'S-KNOWLEDGE OF THESE
             FACTS WITH THE DAMAGE-CLAIM OF THE TITLE-42: DOCUMENT-CONTRACT-

••           CLAIMS-SECTION~ 1986 WITH THE SYNTAX-LAWS WITH THE DOCUMENT-
             CONTRACT-CLAIMS, AND BY THE FRAUD WITH THE CLOSURE BY THE HEREIN-
             STATEMENTS .

••             [: SECOND CLAIM FOR RELIEF: FOR THE VIOLATION OF U.S. CODE 1001 § 2331:]


  ••         ~56: FOR THE DOMESTIC-TERRORISM :TITLE~ 18: DOCU1ViENT-CONTRACT-CLAIMS-
             SECTION~2331: FOR THIS CLAIMANT'S-KNOWLEDGE OF THESE FACTS ARE WITH


     ••      THESE VOLITION-CLAIMS OF THE RAPE OF THE FEDERAL AND STATE LAWS
             PROTECTING THE LIBERTIES, FREEDOMS, AND RIGHTS OF CLAIMANT, BY THE
             COLORING OF THE LAW, WITH THE USE OF EXCESSIVE AND HARMFUL FORCE OF

 ••          LIFE, BY THE UNIVERSITY OF OREGON AND ITS POLICE DEPARTMENT, WITH THE
             AGENTS-ISSUERS-OFFICERS .


    ••       ~57: FOR THE CLAIMANT'S VOLITION-CLAIM OF THE PAIN AND SUFFERING, FOR THE
             KIDNAPPING, WITH THE FALSE-IMPRISONMENT, AND THE INJURIES: FOR THE CAUSE
             OF THE EMOTIONAL-MENTAL-PHYSICAL HARM, AND EXPENSES, BY THE U.-O.-P.-D .

   ••        CLAIMANT IS ASKING FOR THE FINE OF $25-MILLION AND $IO-THOUSAND UNITED
             STATES DOLLARS .


••                 [: THIRD CLAIM FOR RELIEF: NEGLIGENCE: TITLE 42: U.S. CODE ~1986:]



    ••       ~58: FOR THIS CLAIMANT'S-KNOWLDEGE OF THESE FACTS ARE WITH THESE
             VOLITION-CLAIMS WITH THE NEGLIGENCE OF FEDERAL AND STATE LAWS BY THE
             OFFICERS OF THE UNIVERSITY OF OREGON POLICE DEPARTMENT WITH THE

        ••   VIOLATIONS OF U.-O.-P.-D. POLICY, BY THE VOLATIONS OF FEDERAL AND STATE
             LAWS .


   ••        ~59: FOR THE NEGLIGENCE OF THE U.-O.-P.-D. OFFICERS AND SUPERVISORS, $200-
             MILLION UNITED STATES DOLLARS IS FOR THE FINE, WITH THE MONEIES PAYING


      ••
             FOR THE EDUCATING OF THE FEDERAL AND STATE CONSTITUTIONS AND THEIR
             BILLS OF RIGHTS OF THE UNION-STATE OREGON AND ITS TERRITORIES: FOR THE
             EDUCATING AND TRAINING OF ALL LAW ENFORCEMENT WHO ARE WITHIN THE


        ••   UNION-STATE OREGON AND ITS TERRITORIES .

                                                 [: PRAYER FOR RELIEF:]

        ••   ~60 [: Claimant asks for the following relief:]:


       ••     1. [: Judgement in his favor for monetary damages in the amount of $50,010,000.00 USSD: For the
             in-jury of domestic terrorism USC 18 ~ 1001 § 2331 with the false and mis-leading papers
             statements USC 18 ~ 1001, with the cause of harm that is dangerous to human life$ 25,010,000.00

        ••   USSD, with the kidnapping and false-imprisonment of claimant and private property, for the
             Complaint Page-10

         •
      _.;r.
                                        : l.,10               ·h,1:2, - h      'V :
.,<_-·"'!!
                        : va ~-01?-Ad                           I~   !.J. ,. lvJo J :
                              • ' -7,.J.i:J}\ "~   : '·~---
 .
     ·"',.
     ...
     M
·•
      ~
      ~
      '\I
     -•
     ...
      ~
     .~
       J'.
       ~
     ~
     ·~
 .,<¥
     ·~
     «
     •
      'l!
<J.:
     «
     ..,.
     «
     .
     «
     '1
  «
·«
  •
     'fl
 .~
     «
·•
 ••
'.~
 .~
      ~
.'Iii
·~            Page 20 of 22    Filed 07/10/19             Document 1            Case 6:19-cv-01071-AA
             ••          Case 6:19-cv-01071-AA            Document 1         Filed 07/10/19    Page 21 of 22



            ••    emotional-mental-physical trauma of the health of claimant and family (wife and daughter), and for
                  the fine of $25,000,000.00 USSD for the violations of Federal Laws: USC 15 ~78:fl):].

     ••           2. [: Judgment in his favor for monetary damages in the amount of$200,000,000.00 USSD, to be
                  placed in a trust overseen by the Union State Oregon and its Attorney General (currently Ellen F.

            ••    Rosenblum #753239), and to be used for the education and training of all law enforcement on the
                  Federal and State laws, to prevent any further injury to the people of the Union-State Oregon and its
                  territories:] .

        ••        3. [: With the removing of all pending charges against claimant in any related matters, by the Lane


         ••
                  County District Attorney's Office, with the removing of the incident off all public platforms, and
                  otherwise:].



     ••           ~61 [:Any other relief the court deems is just and equitable given the circumstances:] .

                                                           [: AFFIRMATION:]

         ••       ~62 [: I, :James-Brent: Alvarez., being of sound mind, over the age of21 years, competent, and
                  having first-hand knowledge of the facts stated herein; do hereby tell the truth, the whole truth and

           ••     nothing but the truth and herein say, saith, declare, proclaim, and claim as follows:]:

                  ~63 [: Federal Rules of Civil Procedure 11, I, :James-Brent: Alvarez., certify to the best of my

     ••           belief, information, knowledge, and understanding that this complaint: (1) is not being presented for
                  an improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of


           ••     litigation; (2) is supported by existing law or by a non-frivolous argument for extending, modifying,
                  or reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
                  identified, will likely have evidentiary support after a reasonable opportunity for further

      ••          investigation or discovery; (4) the complaint otherwise complies with the requirements ofFRCP
                  RULE 11:] .


       ••
I.
                  [: Live-Life Claimant-Autograph&: Seal:'i:Sot'\Q-~t:."1\.\--: A\vo.rcz....
                  [: James-Brent: Alvarez:].[: for the estate named ALVAREZ, James Brent:].
                  [:copy-right/copy-claim:].[: With the reservation ofrights:].
                  [: Proof of the postal-vessel-complaint-service: RA535207769US:].

I   •
            •     [: Date: ~4-July-2019:].

                  [:Witness-Autograph&: Seal:     f'\t~-:rt.\Srn;t'l.(.•.9on& .
         •        [: copy-right/copy-claim:].


    ••            [: Date: ~4-July-2019:] .

                  [: Witness-Autograph &: Seal:     m it,ht:i-e I - Sf{,(,)"\ ky :r~ iv.~ c./ li(,
    ••            [: copy-right/copy-claim:] .
                  [: Date: ~4-July-2019:] .


         ••       [:Witness-Autograph&: Seal:Jc:,f e~h,..,- /t,tµb eJt,,: /f/J/o,l'el- .
                  [: copy-right/copy-claim:] .


         ••
                  [: Date: ~4-July-2019:] .

                  [:Witness-Autograph&: Seal:     s~C\tJ-t..,,.   LJ---yfe.l\J . HrtNe.✓•

          ••      [: copy-right/copy-claim:] .
                  [: Date: ~4-July-2019:].


            ••    Complaint Page-11
•
                           : b10 -e; .. ;,.   ,...
••             : w•~e,. hut1~ /        rr,r1;,~.              ?:
                                                     '
 ••
  ••
 ••
 ••
    ••
                                                                                              (
  ••
  •••
  ••
   ••
   ••
   ••
     ••
 ••
  ••
    ••
   ••
    ••
     ••
    ••
           Page 22 of 22    Filed 07/10/19               Document 1   Case 6:19-cv-01071-AA
      ••
